         Case 1:20-cv-08899-CM Document 44 Filed 12/22/20 Page 1 of 12




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

THE CLEMENTINE COMPANY LLC. d/b/a THE
THEATER CENTER, PLAYERS THEATER
MANAGEMENT CORP. d/b/a THE PLAYERS THEATER,
WEST END ARTISTS COMPANY d/b/a THE ACTORS
TEMPLE, SOHO PLAYHOUSE INC. d/b/a SOHO
PLAYHOUSE, THE GENE FRANKEL THEATRE LLC.,
TRIAD PROSCENIUM PARTNERS INC. d/b/a THE
TRIAD, CARAL LTD. d/b/a BROADWAY COMEDY
CLUB, and DO YOU LIKE COMEDY LLC. d/b/a NEW
YORK COMEDY CLUB,

                                           Plaintiffs,          No. 20-cv-8899 (CM)

                             v.


ANDREW M. CUOMO, in his Official Capacity as Governor
of the State of New York, ATTORNEY GENERAL OF THE
STATE OF NEW YORK, BILL de BLASIO, in his Official
Capacity as Mayor of the City of New York, and THE STATE
OF NEW YORK,

                                         Defendants.


      STATE DEFENDANTS’ SUPPLEMENTAL MEMORANDUM OF LAW IN
   OPPOSITION TO PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

                                              LETITIA JAMES
                                              Attorney General
                                              State of New York
                                              Attorney for the State Defendants
                                              28 Liberty Street
                                              New York, NY 10005
                                              Tel. (212) 416-8610
                                              Matthew.Conrad@ag.ny.gov

Matthew L. Conrad
Assistant Attorney General
Of Counsel
         Case 1:20-cv-08899-CM Document 44 Filed 12/22/20 Page 2 of 12




       Defendants Andrew M. Cuomo, in his official capacity as Governor of the State of New

York, Letitia James, in her official capacity as Attorney General of the State of New York, and the

State of New York (collectively, the “State Defendants”), respectfully submit this supplemental

memorandum of law, as directed by the Court in its Order issued on December 11, 2020 (ECF No.

42) and in further opposition to Plaintiffs’ motion for a preliminary injunction dated November 9,

2020 (ECF No. 9).

                                          ARGUMENT

       In Roman Catholic Diocese of Brooklyn, New York v. Andrew M. Cuomo, Governor of

New York, 592 U.S. ___, 2020 WL 6948354 (2020) (“Diocese”), the Supreme Court recently

addressed whether a different Executive Order (“EO”) not at issue here, EO 202.68, was likely to

violate the First Amendment’s Free Exercise Clause for the purposes of granting a preliminary

injunction. EO 202.68 enacted 10- and 25-person limits on houses of worship in “Red Zones” and

“Orange Zones,” narrowly defined geographical areas in which elevated numbers of COVID-19

infections required that additional steps be taken to reduce further spread of the contagion. Id. at

*1. The Supreme Court applied strict scrutiny to those limits on the ground that they burdened the

fundamental right of religious freedom and were not neutral but disfavored religion. Id. at *2. It

found that the provisions of EO 202.68 implementing the Red Zone and Orange Zone restrictions

were unlikely to survive strict scrutiny because they were not narrowly tailored to the State’s

compelling interest in addressing the COVID-19 pandemic. Id.

       Diocese does not provide any new or additional basis for this Court to grant Plaintiffs’

preliminary injunction motion. First, this lawsuit does not raise any First Amendment claim and

does not involve Executive Order 202.68. (Point I, infra.) While Plaintiffs raise the Diocese

decision in their reply brief, they only argue that it precludes the application of the deferential



                                                 1
              Case 1:20-cv-08899-CM Document 44 Filed 12/22/20 Page 3 of 12




review of state directives directed towards public health crises first articulated in Jacobson v.

Massachusetts, 197 U.S. 11 (1905). Plaintiffs do not argue, nor could they, that Diocese compels

that the Court issue a preliminary injunction on First Amendment grounds, and, as the Plaintiffs

have never raised a First Amendment claim in this case, the Court should not issue a decision on

this basis. Second, even had Plaintiffs ever raised such a claim, Diocese by its terms only applies

to cases relating to the free exercise of religion, which this is not. Any First Amendment claim

would remain subject to the traditional time, place, and manner analysis of content-neutral

regulations such as those at issue here. Finally, analyzing Diocese for the purpose by which it was

raised by Plaintiffs, it does not modify the Jacobson standard and would not, in any event, affect

the correct outcome of Plaintiffs’ motion for a preliminary injunction overturning the Executive

Orders and related guidance issued by Governor Cuomo and various state agencies directing the

continued closure of the eight Plaintiff theater venues (collectively, the “State Guidance”). (Point

II, infra.)

I.       THIS IS NOT A FIRST AMENDMENT CASE AND, IN ANY EVENT, DIOCESE IS
         INAPPLICABLE TO THE FACTS AT ISSUE HERE

         A.       The Court Should Not Enjoin the State Guidance Pursuant to Claims that
                  Plaintiffs Have Never Made

         The Court has asked the parties to consider whether the First Amendment implications of

Diocese require that the Plaintiff theaters be permitted to operate as well. Whether the decision in

Diocese should be construed to impact secular forms of First Amendment expression is indeed an

important question, as the Court articulated in its Order directing additional briefing. However,

first and foremost, although the artistic expression that occurs in theaters is certainly a form of

speech protected by the First Amendment, Plaintiffs have chosen not to pursue that line of

argument in this case. Neither Plaintiffs’ motion for a preliminary injunction, nor the Complaint,

raises a single claim under the First Amendment – nor, even, is it mentioned in Plaintiffs’ reply

                                                 2
          Case 1:20-cv-08899-CM Document 44 Filed 12/22/20 Page 4 of 12




memorandum in which they (inaccurately) discuss Diocese. The Court should not enjoin the State

Guidance based on a claim that Plaintiffs have never raised.

       The Supreme Court recently opined on the propriety of a court issuing a dispositive

decision based on an issue that the parties never themselves raised, also in the First Amendment

context. In United States v. Sineneng-Smith, 140 S. Ct. 1575 (2020), the Supreme Court

considered a case relating to a federal law criminalizing the encouragement or inducement of

illegal entry into the United States. The defendant, a person who had been convicted under the

law, unsuccessfully argued, inter alia, that the statute was unconstitutional as applied to her under

the Petition and Free Speech Clauses of the First Amendment. Id. at 1578. On appeal, the Ninth

Circuit asked amici and the parties to opine on whether the statute was unconstitutional as

overbroad under the First Amendment – an issue never raised by the parties – and concluded that

it was. Id. In a unanimous decision authored by Justice Ruth Bader Ginsburg, the Supreme Court

overturned the Ninth Circuit’s decision, holding “that the appeals panel departed so drastically

from the principle of party presentation as to constitute an abuse of discretion,” and remanded the

case “for an adjudication of the appeal attuned to the case shaped by the parties rather than the

case designed by the appeals panel.” Id. The Court elaborated that “in both civil and criminal cases,

in the first instance and on appeal, we rely on the parties to frame the issues for decision and assign

to courts the role of neutral arbiter of matters the parties present.” Id. at 1579 (internal citation

omitted). While “the party presentation principle is supple” and “[t]here are no doubt

circumstances in which a modest initiating role for a court is appropriate,” the Court pointed to “a

party’s evident miscalculation of the elapsed time under a statute” as an example of when such a

role would be appropriate. Id. (internal citation omitted).

       Here, as in Sineneng-Smith, it would be appropriate for the parties, rather than the Court,



                                                  3
          Case 1:20-cv-08899-CM Document 44 Filed 12/22/20 Page 5 of 12




to “frame the issues for decision.” While Diocese was issued during the pendency of this case,

Plaintiffs nevertheless could have raised a First Amendment issue in their Complaint, or in their

motion for a preliminary injunction. They did neither. Even in their reply brief, filed after the

issuance of Diocese and relying heavily on Diocese for its purported effect on the Jacobson

standard, Plaintiffs did not so much as mention the First Amendment. Even more than in Sineneng-

Smith, where the appeals court merely added a new First Amendment theory in a case where other

First Amendment concerns had already been raised, the Court should not issue a decision based

on a theory that the parties never intended to litigate. If the Diocese decision raises questions

relating to the prioritization of religious events over secular artistic speech, those questions should

be addressed in a proceeding where they are squarely at issue as raised by the parties. As it is

currently pled, this is not that case.

        B.      Diocese is Limited to the Free Exercise of Religion and the State Guidance
                Must Be Upheld As a Reasonable Time, Place, and Manner Restriction

        In the absence of any First Amendment claims raised by Plaintiffs, it is difficult to address

the merit of any hypothetical claims that they might have brought, and the State Defendants cannot

speculate on the specifics of such claims or craft Plaintiffs’ arguments for them. Nevertheless,

Diocese is, by its clear terms, limited to cases relating to the free exercise of religion, and is

therefore inapposite to the present case under any circumstances. The First Amendment’s

protection of free speech and of artistic expression are governed by a separate set of doctrines that

permit the State Guidance regarding theaters to stand, and the Court should not take the

extraordinary step of transplanting legal frameworks between these distinct areas of law.

        In Diocese, applying the preliminary injunction standard, the Court found that plaintiffs

had demonstrated a likelihood of success on the merits of their claim that EO 202.68 violated “the

minimum requirement of neutrality” to religion. Diocese, 2020 WL 6948354 at *1 (citing Church


                                                  4
          Case 1:20-cv-08899-CM Document 44 Filed 12/22/20 Page 6 of 12




of Lukumi Babalu Aye, Inc. v. Hialeah, 508 U.S. 520, 533 (1993)). The Court found that the

challenged restrictions “cannot be viewed as neutral because they single out houses of worship for

especially harsh treatment.” Id. Finding that EO 202.68 was neither “neutral” nor generally

applicable as it specifically addressed religious activity, the Court applied strict scrutiny to

plaintiffs’ First Amendment claim. Id. at *2. Although the Court noted that stemming the spread

of COVID-19 is “unquestionably a compelling interest,” the Court found that the challenged EO

was not “narrowly tailored” to serve this purpose. Id. The Court found that “there are many other

less restrictive rules that could be adopted to minimize the risk of those attending religious

services.” Id. Accordingly, the Court’s holding in Diocese applies narrowly to claims raised under

the Free Exercise Clause of the First Amendment, which by their very nature implicate a

fundamental right subject to strict scrutiny. Id. (citing Lukumi, 508 U.S. at 533). Nothing in the

Diocese decision suggests that it applies outside of the free exercise context, or mandates that the

Jacobson standard no longer applies to Plaintiffs’ claims, which are not brought under the Free

Exercise Clause.

       Diocese did not create any new standard for First Amendment cases, but instead simply

applied the usual “minimum requirement of neutrality” standard applicable in a typical free

exercise case. Even if this Court were to determine it should extend Diocese beyond the Free

Exercise Clause context, it should not transplant a free exercise doctrine to the speech context, but

rather should simply apply the doctrines that typically apply to speech cases. Here, that is the long-

standing rule that government regulation of the time, place, and manner of expressive activity is

permissible as long as the restrictions “are content neutral, are narrowly tailored to serve a

significant governmental interest, and leave open ample alternatives for communication.” Paulsen

v. Gotbaum, 982 F.2d 825, 828 (2d Cir. 1992).



                                                  5
          Case 1:20-cv-08899-CM Document 44 Filed 12/22/20 Page 7 of 12




       If the Court were to determine that it must dispense with the Jacobson standard as a result

of Diocese, the State Guidance easily satisfies the time, place, and manner test that would instead

apply. First, a speech restriction “is content neutral when it is justified without reference to the

content of the regulated speech.” Marcavage v. City of N.Y., 689 F.3d 98, 104 (2d Cir. 2012). A

facially neutral regulation “does not become content based simply because it may

disproportionately affect speech on certain topics.” McCullen v. Coakley, 573 U.S. 464, 480

(2014). That is undoubtedly the case here. The challenged rule temporarily restricting the operation

of theaters and other similar activities such as karaoke and comedy clubs is indifferent to what

might be expressed during such activities, which all present a specifically heightened risk of viral

spread. The restriction refers only to the mode of speech, as opposed to the content.

       Second, a time, place, and manner restriction must be “narrowly tailored to serve a

significant governmental interest.” Paulsen, 982 F.2d at 828. Importantly, this is not equivalent to

the strict scrutiny standard applied in Diocese. Compare Diocese, 2020 WL 6948354, at *2

(“Because the challenged restrictions are not ‘neutral’ and of ‘general applicability,’ they must

satisfy ‘strict scrutiny,’ and this means that they must be ‘narrowly tailored’ to serve a ‘compelling’

state interest.”) with McCullen, 573 U.S. at 485 (a speech restriction that is “neither content nor

viewpoint based . . . therefore need not be analyzed under strict scrutiny”). Rather, “for a content-

neutral time, place, or manner regulation to be narrowly tailored, it must not burden substantially

more speech than is necessary to further the government’s legitimate interests. Such a regulation,

unlike a content-based restriction of speech, need not be the least restrictive or least intrusive

means of serving the government’s interests.” McCullen, 573 U.S. at 486 (citing Ward v. Rock

Against Racism, 491 U.S. 781, 799 (1989)). Here, the State Guidelines do not burden substantially

more speech than is necessary to further the government’s legitimate – and in fact overwhelmingly



                                                  6
         Case 1:20-cv-08899-CM Document 44 Filed 12/22/20 Page 8 of 12




compelling – interest in saving lives by stemming the spread of the COVID-19 pandemic. As

described in State Defendants’ Memorandum of Law in Opposition to Plaintiffs’ Motion for a

Preliminary Injunction (ECF No. 29) (“Def. Memo”) and the Declaration of Debra S. Blog, M.D.,

MPH (ECF No. 28), “[T]heaters inherently operate in a manner that poses an elevated risk of

causing a ‘superspreader’ event” (Def. Memo, p. 12). The temporary closures of venues that pose

this risk, while permitting the partial operation of activities that pose lesser risks, is a narrowly

tailored restriction in the context of the time, place, and manner doctrine.

       Finally, a valid time, place, and manner regulation must “leave open ample alternatives for

communication.” Paulsen, 982 F.2d at 828. In the context of the present public health crisis, safe

alternatives to live in-person theater exist and are available to Plaintiffs – for example, streaming

webcasts of theatrical performances have made live theater accessible to online audiences. 1

Federal courts that have addressed similar questions during the course of the COVID-19 pandemic

have held that these sorts of alternatives are adequate to satisfy the time, place, and manner

analysis. See CH Royal Oak, LLC v. Whitmer, No. 20-cv-570, 2020 WL 4033315, at *6 (W.D.

Mich. July 16, 2020) (in a First Amendment challenge brought by a movie theater seeking to hold

a film festival in support of the Black Lives Matter movement, holding that Michigan’s closure of

movie theaters satisfied the alternative method of communication requirement, as the plaintiff

could “host its planned event outside in any outdoor theater, cinema, or performance venue. Or,

[plaintiff] could hold a different outdoor protest or fundraiser to voice its support for Black Lives

Matter. While an outdoor event is not [plaintiff’s] preferred form of communication, it is certainly

an available method of communication.”); Antietam Battlefield KOA v. Hogan, 461 F. Supp. 3d


1
   See, e.g., https://www.timeout.com/newyork/theater/the-best-theater-to-watch-online-today-
streaming (listing numerous theater webcasts); https://www.playbill.com/article/schedule-of-
upcoming-and-current-free-live-stream-broadcasts-com-322823 (same).

                                                  7
          Case 1:20-cv-08899-CM Document 44 Filed 12/22/20 Page 9 of 12




214, 236 (D. Md. 2020), appeal dismissed, 2020 WL 6787532 (4th Cir. July 6, 2020) (holding that

Maryland’s restrictions on gatherings of more than ten people is a valid time, place, and manner

restriction, as it “leaves open several alternatives: [Plaintiffs] for instance, may still protest in

groups of ten or fewer, and can also communicate information in other ways such as through the

Internet, newspaper, or signs. Similarly, religious organizations may perform services in groups of

ten or fewer people, virtually, or through drive-in services. The court understands that these

alternatives might not carry the same force as a large rally or an in-person religious service with

all congregants. But, especially in view of the COVID-19 pandemic, sufficient alternatives are

available.”).

       The State Guidelines at issue here easily satisfy the time, place, and manner test applicable

to content-neutral restrictions on speech. Even if the Court extended Diocese beyond the religious

context, there is no clear likelihood of success so as to enjoin the State Guidelines.

II.    DIOCESE DOES NOT ALTER THE APPLICATION OF JACOBSON IN THE
       EQUAL PROTECTION CONTEXT AND WOULD NOT, IN ANY EVENT, CHANGE
       THE OUTCOME OF PLAINTIFFS’ MOTION

       As discussed above, Plaintiffs have not raised any First Amendment claims in this matter.

In their reply brief, however, they argue that Diocese modifies the appropriate standard of review

applicable to their Equal Protection claim (the only claim upon which they base their preliminary

injunction). Plaintiffs are incorrect, and in any event would not prevail on their motion for a

preliminary injunction regardless.

       A.       Diocese Does Not Overturn Jacobson or South Bay

       In their reply brief, Plaintiffs incorrectly argue that Diocese overturned, in all contexts, the

holdings of Jacobson and South Bay United Pentecostal Church v. Newsom, 140 S. Ct. 1613

(2020). (Plaintiff’s Memorandum of Law in Reply, Dkt. No. 38, at pp. 4-6, 18-19.) However,

Plaintiffs ignore that the entirety of Diocese’s commentary on Jacobson and South Bay was
                                                  8
         Case 1:20-cv-08899-CM Document 44 Filed 12/22/20 Page 10 of 12




contained in a concurring opinion, not in the opinion of the Court. Plaintiffs repeatedly quote

Justice Gorsuch’s single-justice concurrence, but misleadingly attribute the quoted language to the

Supreme Court’s per curiam opinion rather than to that concurrence. (See, e.g., id. at p. 18.)

Importantly, the per curiam decision in Diocese does not even cite Jacobson or South Bay, let

alone discuss either of those decisions in a substantive manner. Although Justice Gorsuch’s

concurrence takes issue with Jacobson and South Bay, it is well-established that statements in a

concurrence do not constitute binding precedent. See Maryland v. Wilson, 519 U.S. 408, 412-13

(1997) (observing that statement in a concurrence does not “constitute[ ] binding precedent”); U.S.

v. Izzo, 144 F. App’x 906, 908 (2d Cir. 2005) (summary order) (“That Justice Thomas, in a

concurrence in Shepard, reiterated his opposition to Almendarez-Torres’s holding does not change

the fact that Almendarez-Torres remains binding precedent.”).

       Moreover, the Supreme Court has frequently admonished lower courts from renouncing its

precedent on the suspicion that such cases have been overruled by implication. Instead, the Court

has repeatedly directed lower courts to “follow the case which directly controls [and] leaving to

this Court the prerogative of overruling its own decisions[,]” even if that precedent “appears to

rest on reasons rejected in some other line of decisions.” Rodriguez de Quijas v. Shearson/Am.

Exp., Inc., 490 U.S. 477, 484 (1989); see also Bosse v. Oklahoma, 137 S. Ct. 1, 2 (2016) (“Our

decisions remain binding precedent until we see fit to reconsider them, regardless of whether

subsequent cases have raised doubts about their continuing vitality.”) (citation omitted); Agostini

v. Felton, 521 U.S. 203, 237 (1997); Crawford Fitting Co. v. J. T. Gibbons, Inc., 482 U.S. 437,

442 (1987). Accordingly, any argument that Justice Gorsuch’s concurrence in Diocese overturned

or limited Jacobson and/or South Bay, either expressly or by implication, must be rejected.




                                                9
         Case 1:20-cv-08899-CM Document 44 Filed 12/22/20 Page 11 of 12




        B.     Even if Jacobson Did Not Apply to Plaintiffs’ Equal Protection Claim, They
               Would Still Not Prevail

        In any event, should this Court decline to apply the deferential standard set forth in

Jacobson to Plaintiffs’ equal protection claim, the Plaintiffs would still not prevail on their motion

for a preliminary injunction.

        First, as discussed at length in State Defendants’ prior memorandum, “[e]ven if Jacobson’s

more deferential standard did not apply, Plaintiffs’ claims fail under a standard equal protection

analysis.” (Def. Memo., p. 11.) Even if Plaintiffs had identified highly similar comparators subject

to differing treatment (which they did not), their “class of one” claim would be subject to rational

basis review, which the State Guidance easily satisfies. (Def. Memo., pp. 11-14). Second, nothing

about Diocese relieves Plaintiffs of demonstrating “not only that they have some likelihood of

success on the merits and will suffer irreparable harm absent an injunction, but also that the

‘balance of the equities tips in [their] favor and an injunction is in the public interest.’” Otoe-

Missouria Tribe v. New York State Dep’t of Fin. Svcs., 769 F.3d 105, 112 n.4. (2d Cir. 2014).

Given the current deteriorating public health metrics regarding the spread of COVID-19, including

in New York State, the public interest strongly militates against enjoining the State Guidance in

light of the potentially disastrous health consequences that would result. (See Blog Decl., ¶¶ 85-

108.)

                                          CONCLUSION

        For the reasons set forth above, in addition to those reasons set forth in State Defendants’

Memorandum of Law in Opposition to Plaintiffs’ Motion for a Preliminary Injunction, it is

respectfully requested that the Court deny Plaintiffs’ motion for a preliminary injunction and grant

such other and further relief as is just and proper.




                                                  10
       Case 1:20-cv-08899-CM Document 44 Filed 12/22/20 Page 12 of 12




Dated: New York, New York
       December 22, 2020


                                      LETITIA JAMES
                                      Attorney General
                                      State of New York
                                      Attorney for the State Defendants

                                   By: /s/ Matthew L. Conrad
                                      MATTHEW L. CONRAD
                                      Assistant Attorney General
                                      28 Liberty Street
                                      New York, NY 10005
                                      Tel: (212) 416-8610
                                      Matthew.Conrad@ag.ny.gov




                                     11
